
990 So.2d 737 (2008)
In re Michael Robin WALKER.
No. 2008-B-2096.
Supreme Court of Louisiana.
September 19, 2008.

ORDER
Considering the Petition for Interim Suspension filed by the Office of Disciplinary Counsel,
IT IS ORDERED that Michael Robin Walker, Louisiana Bar Roll number 13186, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
/s/ Pascal F. Calogero, Jr.
Justice, Supreme Court of Louisiana
